78 F.3d 579
    NOTICE: Fourth Circuit Local Rule 36(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.William Bernard RANDOLPH, Plaintiff--Appellant,v.Don A. SWETTER, Dr;  Dr. Ohai;  J. Kendricks, Dr.;  WardenJabe;  R. Smith, Shop Foreman, CorrectionalMedical Service;  W.P. Welch, HospitalHead, Deputy Warden;  WardenBass, Defendants--Appellees.
    No. 95-8588.
    United States Court of Appeals, Fourth Circuit.
    Submitted:  Feb, 7, 1996Decided:  Feb. 29, 1996
    
      William Bernard Randolph, Appellant Pro Se.  David Charles Bowen, WILLCOX &amp; SAVAGE, Norfolk, Virginia;  Mary Elizabeth Shea, OFFICE OF THE ATTORNEY GENERAL OF VIRGINIA, Richmond, Virginia;  Jeff Wayne Rosen, Lisa Ehrich, ADLER, ROSEN &amp; PETERS, P.C., Virginia Beach, Virginia, for Appellees.
      Before MURNAGHAN and WILLIAMS, Circuit Judges, and PHILLIPS, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Appellant appeals from the district court's order denying relief on his 42 U.S.C. § 1983 (1988) complaint.   We have reviewed the record and the district court's opinion and find no reversible error.   Accordingly, we affirm on the reasoning of the district court.   Randolph v. Swetter, No. CA-95-370-3 (E.D.Va. Dec. 4, 1995).   We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.
    
    